        Case 4:18-cr-00014-BMM Document 59 Filed 07/20/18 Page 1 of 6



Peter Michael Meloy
                                                                   FILED
MELOY LAW FIRM                                                        JUL 2 0 21118
P.O. Box 1241                                                      Cler1<. u.s District Court
Helena, MT 59624                                                      District Of Montana
                                                                          Great F811s
Attorneyfor Dow Jones & Company, Inc.


             IN THE UNITED STATES DISTRICT COURT FOR
                      THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                  )
                                           )
Plaintiff,                                 )
                                           )
v.                                         ) Case No. CR IS-14-GF-BMM
                                           )
STANLEY PATRICK WEBER,                     )
                                           )
Defendant.                                 )



   MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO
CONDUCT AUDIO AND VIDEO RECORDING OF THE PROCEEDINGS



       Dow Jones & Company, Inc. has moved this Court for leave to audio and or

video record the courtroom proceedings in the captioned matter.

       In support of this motion the movant declares as follows:

       I. Dow Jones & Company, Inc., a global provider of news and business

infomlation, publishes The Wall Street Journal, a highly respected and Pulitzer

Prize winning international daily
       Case 4:18-cr-00014-BMM Document 59 Filed 07/20/18 Page 2 of 6



newspaper that provides news, infonnation, commentary and analysis to a broad

variety of readers.

       2. The Joumal has been reporting extensively on issues related to the Indian

Health Service (HIHS"). For example, the Journal recently reported on

inaccuracies in the resume of President Trump's nominee for Director of the IHS,

after which the nominee withdrew his name from consideration. The Journal has

also been covering the prosecution of the Defendant, Stanley Patrick Weber, in the

captioned matter.

       3. Dr. Weber's case is of national significance because it is the first

prosecution that the Journal is aware of in which a person is alleged to have

effectively used the power of a federal government position to perpetrate sex

crimes against children. The federal agency in question, the IHS, operates a

network of hospitals around the country. and has faced criticism for many years

over its operations and alleged dysfunction. The IHS continues to serve roughly 2

million Native American tribal members and its operations are a matter of

significant national public interest.

      4. The Journal is working with Frontline, the PBS documentary series and

winner of every major award in broadcast journalism, on a video project

examining IHS operations. Journal staff have conducted video interviews with a

number of individuals for this project, including individuals who reside on
        Case 4:18-cr-00014-BMM Document 59 Filed 07/20/18 Page 3 of 6



reservations served by the IHS. The Journal seeks video or audio records of any

court proceedings in the Weber matter in order to have that material available for

potential use in this video project. Such records would have the benefit of bringing

the ,ideo project's audience direct testimony from people familiar with the IHS, its

operations, and the conduct of and allegations against Dr. Weber. Video or audio

material would capture the nuance and details of the actual delivery of statements

by witnesses, attorneys, court officers, and the judges beyond that which can be

gleaned from a cold transcript.

      Although the press and public have the right to be physically present in a

eourt room, there is no constitutional right to bring cameras into or to make audio

or video recordings of court room proceedings. Nixon v. Warner Communications.

lnc., 435 U.S. 589, 610 (1978). However, in Chandler v. Florida, 449 U.S. 560,

582 (1981), the Supreme Court recognized that the cautious use of modern

technology could advance the public interest without infringing upon the

defendant's right to a fair trial, leaving it up to the states and courts to decide

whether press coverage would be appropriate on a case-by-case basis. See also

Richmond Newspapers v. Virginia, 448 U.S. 555, 571 (1980) ("To work

effectively, it is important that society'S criminal process 'satisfy the appearance of

fairness,' ... and the appearance ofjustice can best provided by allowing people to

observe it.")
       Case 4:18-cr-00014-BMM Document 59 Filed 07/20/18 Page 4 of 6



      As authorized by Local Rule I.3(d), (applicable to criminal proceedings

through CR I.) a Montana federal judge may authorize video-recording on special

occasions by written order. No factors are enumerated in Montana's Rule, but

other courts faced with such requests, consider various factors. See e.g.

Commonwealth v. Barnes, 963 N.E.2d 1156, 1171 (Mass. 2012) (noting that

"media requests to record court proceedings" are generally granted for "trials and

other court proceedings of particular public interest").

      California, for example, "has moved from a restrictive approach to a more

open, yet cautious approach." People v. Dixon, 148 Cal. App. 4th 414, 435

(2007). California's guidelines for determining whether to allow the press to

televise or videotape judicial proceedings are set forth in rule 1.1 50(e )(3). Among

the various factors to be considered by the court are the importance of maintaining

public trust and confidence in the judicial system, the nature of the case, the effect

on any subsequent proceedings in the case, the maintenance ofthe orderly conduct

of the proceeding and any other factor the judge deems relevant.

      Given the national nature of this case and the importance of enhancing

public trust in the operation ofthe criminal justice system, the motion for leave to

record is consistent with factors favoring its approval.

      Wherefore, Dow Jones & Company, Inc. respectfully requests this Court to

authorize video-recording as a special occasion, pursuant to L.R. 1.3(d)(G). In the
       Case 4:18-cr-00014-BMM Document 59 Filed 07/20/18 Page 5 of 6



alternative. Dow Jones & Company, Inc. requests the Court to make its own

recording of the proceedings so a copy of the recording may be obtained from the

Clerk pursuant to L.R. 1.3 (b)(3).



                       I""'v              \
      Dated this _--,-__",--'_ _day o~, 2018



                                       Peter Michael Meloy
                                       MELOY LAW FIR'\1
                                       P.O. Box 1241
                                       Helena MT 59624



                                       P                Meloy, Esq.
                                       Attorney   Ir   The Wall Street Journal




                    CERTIFICATE OF SERVICE

      This is to certifY that on the   {r:    of ~, 2018, a true and exact

copy ofthe foregoing has been served electronically via the CMlECF system

which will automatically serve a Notice of Electronic Filing on the following:

      Ryan T. Cox
      Springer and Steinberg, P.C.
      1600 Broadway
      Denver, CO 80202
      rcox@springersteinberg.com
      Attorney for Defendant
Case 4:18-cr-00014-BMM Document 59 Filed 07/20/18 Page 6 of 6




Jeffrey K. Starnes
U.S. Attorney's Office
2601 Second Ave. North Ste 3200
Billings, MT 59101
Attorneys for the United States
